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 6                              UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA
 8                                              -oOo-
 9   UNITED STATES OF AMERICA,                 )
                                               )             2:02-CR-00674-PMP-LRL
10                 Plaintiff,                  )
                                               )             ORDER
11                 v.                          )
                                               )
12   GUO JUN XU,                               )
                                               )
13                 Defendant.                  )
                                               )
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            On December 17, 2002, the Federal Grand Jury sitting in Las Vegas, Nevada
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     returned an Indictment charging Defendant Guo Jun Xu with the Crimes of Use of a
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     Fraudulently Obtained Visa (Counts One and Two). To date, Defendant Guo Jun Xu has
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     not been arrested on these charges, and his case remains open on the docket of this Court.
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            IT IS THEREFORE ORDERED that Plaintiff United States shall have to and
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     including April 18, 2011 within which to file written status report regarding this case.
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     DATED: March 28, 2011.
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24                                             PHILIP M. PRO
                                               United States District Judge
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